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                                           UNITED STATES DISTRICT COURT
                                                DISTRICT OF MAINE

      CASE NAME: USA v. Andrew Hazelton

      DOCKET NO: 2:21-cr-00067-JAW-01

      PROCEEDING TYPE: Sentencing

                                                       Exhibit List
Gvt   Dft   Court
                                                                                       Date          Date             Date
Exh   Exh    Exh                                 Description                                                  Obj
                                                                                     Mentioned      Offered         Admitted
No.   No.    No.
 1                                       Instagram Chat with Minor                   1/28/2022   1/28/2022          1/28/2022

 2                           Search Warrant Affidavit of Jonathan A. Duquette        1/28/2022   1/28/2022          1/28/2022

 3                                  Victim Impact Statement of At_ School            1/28/2022   1/28/2022          1/28/2022

 4                               Victim Impact Statement of Mother Full              1/28/2022   1/28/2022          1/28/2022

       1                                     Letters of Support                      1/28/2022   1/28/2022          1/28/2022
